
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 95-2125

                          MARIE EVANS, p.p.a. MURIEL EVANS,
                                Plaintiff, Appellant,

                                          v.

                                TERRACE AVERY, ET AL.,
                                Defendants, Appellees.
                              _________________________

          No. 95-2126

                            MURIEL EVANS AND BILLY EVANS,
                                Plaintiffs, Appellees,

                                          v.

                                   CITY OF BOSTON,
                                Defendant, Appellant.
                              _________________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________
                   [Hon. Robert B. Collings, U.S. Magistrate Judge]
                                             _____________________
                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                          and Boyle,* Senior District Judge.
                                      _____________________
                              _________________________

               Michael Avery,  with  whom Perkins,  Smith  &amp; Cohen  was  on
               _____________              ________________________
          brief, for plaintiffs.
               Kevin S. McDermott, Assistant Corporation Counsel, with whom
               __________________
          Merita  A.  Hopkins,  Corporation  Counsel,  was  on  brief,  for
          ___________________
          defendants.

                              _________________________

                                  November 20, 1996
                              _________________________
          _______________
          *Of the District of Rhode Island, sitting by designation.















                    SELYA,  Circuit Judge.    These appeals  require us  to
                    SELYA,  Circuit Judge.
                            _____________

          revisit the legal standard  which courts must apply to  resolve a

          claim  that a  police  pursuit has  been  conducted in  a  manner

          antithetical  to  the  protections  afforded  by the  substantive

          aspect of  the Due Process  Clause.   The question arises  in the

          context of a civil action brought against the City  of Boston and

          two of  its police  officers after  a motor vehicle  driven by  a

          suspected  drug dealer fleeing from the police struck and injured

          a  youthful pedestrian,  Marie Evans.   The  district court  took

          Evans' civil rights claims  from the jury, and Evans  now appeals

          both the court's  direction of a verdict  in favor of the  police

          officers  and its earlier grant  of summary judgment  in favor of

          the  City.  At the same time,  the City cross-appeals from a jury

          verdict  in favor of Evans'  parents on a  related state-law tort

          claim.  We affirm the judgment below in all respects.

          I.  BACKGROUND
          I.  BACKGROUND

                    We assess  the  facts  of  record  in  the  light  most

          favorable  to the plaintiffs.  See, e.g., Veranda Beach Club Ltd.
                                         ___  ____  _______________________

          Partnership  v. Western Sur. Co.,  936 F.2d 1364,  1375 (1st Cir.
          ___________     ________________

          1991) (elucidating  standard of  review  for directed  verdicts);

          Garside v. Osco Drug, Inc., 895 F.2d 46, 48 (1st Cir. 1990) (same
          _______    _______________

          re  summary judgments).  No  further elaboration of  the facts is

          needed for disposition of the cross-appeal.

                    The events  that fomented this lawsuit  occurred in the

          twinkling  of an eye.   At approximately 6:00  p.m. on August 12,

          1992, officers  Terrace Avery  and John J.  Greene were  cruising


                                          2














          through a  residential neighborhood in the  Dorchester section of

          Boston.  They spotted suspicious  activity at the intersection of

          Nixon  and  Centre Streets:   an  individual  who appeared  to be

          startled at their  presence yelled excitedly,  threw a paper  bag

          through the open window of a parked Oldsmobile,  and vaulted into

          the  front passenger seat.  The driver immediately headed west on

          Centre St. at 20-25 m.p.h.  Greene decided to stop the automobile

          and detain  its occupants.  He  executed a U-turn, set  out after

          the  Oldsmobile,  and activated  his  siren  and wig-wag  lights.

          Instead of stopping, the suspects' car accelerated.  The officers

          took up the  chase in  earnest, travelling at  roughly 45  m.p.h.

          When  the  officers  observed  the occupants  of  the  Oldsmobile

          placing small items in  their mouths and passing  a jug back  and

          forth, they concluded that the suspects were swallowing potential

          evidence.

                    As the Oldsmobile approached  Codman Square   a complex

          intersection at  which Centre  St., Washington St.,  Norfolk St.,

          and Talbot Ave. meet    it crossed to the wrong side of the road,

          passed three  cars waiting  at a  red light,  and turned  left on

          Washington St., travelling  as fast  as 50 m.p.h.   The  officers

          remained  close  behind.    Approximately 300  feet  from  Codman

          Square, the  suspects' vehicle struck a  ten-year-old girl, Marie

          Evans, who was attempting to cross Washington St.  Greene stopped

          his car and  Avery alighted  to assist the  victim.  Greene  then

          continued his pursuit  of the  Oldsmobile.   The entire  incident

          lasted no more than two minutes.


                                          3














                    The plaintiffs'  evidence shows that traffic  was heavy

          at  the  time of  the chase  and  that numerous  pedestrians were

          about.   Both Greene and  Avery were familiar  with Codman Square

          and knew that it was a busy shopping venue adjacent  to a densely

          populated residential  area.   They  also  knew that  Centre  St.

          affords limited visibility of the Codman Square intersection.

                    Marie Evans sued the  officers pursuant to 42  U.S.C.  

          1983 (1994); she sued the City  pursuant to the same statute; and

          she and her parents, Muriel and Billy Evans, sued the  City under

          Mass.  Gen. L. ch. 258,   2  (1988).1  The district court (Young,

          U.S.D.J.) granted summary judgment in favor of the City on Evans'

          section  1983 claim.  Ruling ore tenus, the court determined that
                                       ___ _____
                              
          ____________________

               1The statute provides in relevant part:

                         Public  employers  shall  be liable  for
                    injury or loss of property or personal injury
                    or death caused by the negligent or  wrongful
                    act or omission of  any public employee while
                    acting  within  the scope  of  his office  or
                    employment,  in  the same  manner and  to the
                    same  extent  as a  private  individual under
                    like   circumstances,   except  that   public
                    employers  shall  not be  liable  .  . .  for
                    punitive damages or for any amount in  excess
                    of  one   hundred  thousand  dollars.     The
                    remedies  provided by  this chapter  shall be
                    exclusive   of  any  other  civil  action  or
                    proceeding  by  reason  of the  same  subject
                    matter  against the  public employer  or, the
                    public  employee .  .  .  whose negligent  or
                    wrongful act  or omission gave  rise to  such
                    claim,  and no  such  public employee  . .  .
                    shall  be liable  for any  injury or  loss of
                    property or  personal injury or  death caused
                    by his  negligent or wrongful act or omission
                    while  acting within the  scope of his office
                    or employment; . . . .

          Mass. Gen. L. ch. 258,   2 (1988).

                                          4














          the plaintiff had failed to adduce evidence sufficient to prove a

          policy or  custom of deliberate indifference  attributable to the

          City.    The  parties  thereafter  consented  to  trial before  a

          magistrate judge.  See 28 U.S.C.   636(c) (1994); Fed. R. Civ. P.
                             ___

          73(a).  At the  conclusion of the evidence, the  court (Collings,

          U.S.M.J.) took the remaining section 1983 claim from the jury and

          granted  the officers' motions for  judgment as a  matter of law.

          See Evans v. Avery, 897  F. Supp. 21 (D.  Mass. 1995).  The  jury
          ___ _____    _____

          then considered the  pendent claims and awarded  damages to Evans

          and  each of  her parents  in  the amount  of  $100,000 (the  per

          claimant maximum  allowable under state  law, see supra  note 1).
                                                        ___ _____

          These appeals followed.

          II.  THE SECTION 1983 CLAIM AGAINST THE OFFICERS
          II.  THE SECTION 1983 CLAIM AGAINST THE OFFICERS

                    Marie Evans asserts that the nisi prius  court erred in

          directing  a verdict for the police officers.  She argues, in the

          alternative, that the court applied the wrong legal standard, and

          that, whatever legal standard obtains, the evidence established a

          jury question  as to whether  the officers' conduct  violated her

          right to substantive due process.

                    Section 1983 supplies a private right of action against

          a  person  who, under  color of  state  law, deprives  another of

          rights secured by  the Constitution  or by federal  law.   Evans'

          mishap involved  neither physical  contact with a  police officer

          nor  police action  directed at  her.   In  short, it  was not  a

          seizure  and it  was therefore  not in  derogation of  her Fourth

          Amendment  rights.  See Brower  v. County of  Inyo, 489 U.S. 593,
                              ___ ______     _______________


                                          5














          596-97  (1989) (distinguishing  between  police  action  directed

          toward  producing  a particular  result  and  police action  that

          happens  to  cause  an  unintended, if  foreseeable,  result  and

          holding  that only the former  can constitute a seizure); Landol-
                                                                    _______

          Rivera v. Cruz Cosme, 906  F.2d 791, 796 (1st Cir. 1990)  ("It is
          ______    __________

          intervention directed at a specific individual that furnishes the

          basis  for  a  Fourth  Amendment claim.").    Nevertheless,  even

          outside the  context of  a seizure, appellate  courts have  noted

          that  a person  injured  as a  result  of police  misconduct  may

          prosecute  a substantive  due process  claim under  section 1983.

          See, e.g., Sinaloa Lake Owners Ass'n v.  City of Simi Valley, 882
          ___  ____  _________________________     ___________________

          F.2d 1398, 1408 n.10 (9th Cir. 1989), cert. denied, 494 U.S. 1016
                                                _____ ______

          (1990);  see  also  Landol-Rivera,  906  F.2d  at  796  (assuming
                   ___  ____  _____________

          proposition).   The initial  question that confronts  us concerns

          the  legal standard  by  which the  officers'  conduct should  be

          judged in such instances.

                    We begin  with an  historical perspective.   In Landol-
                                                                    _______

          Rivera  we ruled  that police  officers who  were engaged  in hot
          ______

          pursuit  of  a  suspect  could  not  be  held  liable  under  the

          substantive  aspect of the Due Process Clause for the shooting of

          a hostage.    906 F.2d  at 798.   We  premised that  ruling on  a

          determination  that  the  officers'  conduct did  not  reflect  a

          reckless  or callous indifference  to the hostage's  rights.  See
                                                                        ___

          id.  at  796-98.   Two  things  about  this  articulation of  the
          ___

          applicable legal standard  are noteworthy.   In the first  place,

          our  use of the "deliberate indifference" test did not broach new


                                          6














          ground,   but,   rather,  reflected   a   fairly  straightforward

          application  of our earlier holding in Germany v. Vance, 868 F.2d
                                                 _______    _____

          9 (1st Cir. 1989), in  which we posited that reckless or  callous

          indifference to  an individual's rights is  a necessary predicate

          to  triggering the  substantive  protections of  the Due  Process

          Clause.   See id. at 17-19.2   In the second place, Landol-Rivera
                    ___ ___                                   _____________

          did  not  presume to  undertake a  full  formulation of  the test

          applicable  to  substantive due  process  claims  in creation  of

          danger cases;  instead, the court went only  as far as was needed

          to show the infirmity of the particular claim before it.3

                    After  this court  decided Landol-Rivera,  the Justices
                                               _____________

          revisited the jurisprudence of substantive due process in Collins
                                                                    _______

          v. City  of Harker Heights, 503  U.S. 115 (1992).   In that case,
             _______________________

          the  widow  of  an  asphyxiated  sanitation  department  employee
                              
          ____________________

               2Our decision  in Germany  responded to the  Supreme Court's
                                 _______
          invitation in Daniels v.  Williams, 474 U.S. 327 (1986).   There,
                        _______     ________
          the Court held that mere negligence is insufficient  to implicate
          the  substantive protections of  the Due Process  Clause but left
          open  the question  of  whether something  less than  intentional
          conduct might be enough to trigger those protections.  See id. at
                                                                 ___ ___
          334 n.3.

               3In Gutierrez-Rodriguez v. Cartagena, 882 F.2d 553, 582 (1st
                   ___________________    _________
          Cir.  1989), we  upheld a  section 1983  substantive due  process
          claim  under  the "reckless  or  callous  indifference" standard.
          There, four  armed plainclothes police officers  approached a car
          occupied by a young couple admiring  the view at a secluded spot.
          When the swain saw  the unidentified men, he started his  car and
          began to drive away.   Without warning, the officers  opened fire
          and severely injured him.   See id. at 557.  Because  the parties
                                      ___ ___
          in  Gutierrez-Rodriguez tried  the  case on  the assumption  that
              ___________________
          "reckless  and  callous  indifference"  constituted the  rule  of
          decision for  section 1983 substantive  due process claims    and
          argued in the same vein on appeal   we had no occasion to address
          whether  anything beyond that standard might be required.  In all
          events,  the  behavior  exhibited  by the  police  in  Gutierrez-
                                                                 __________
          Rodriguez would shock even an unusually jaded conscience. 
          _________

                                          7














          claimed that her deceased husband had "a constitutional right  to

          be free from  unreasonable risks  of harm to  his body, mind  and

          emotions  and a  constitutional  right to  be protected  from the

          [city's] custom and policy  of deliberate indifference toward the

          safety of  its employees."  Id.  at 117.  Noting  its traditional
                                      ___

          reluctance "to  expand the  concept of substantive  due process,"

          id. at 125, the Court recharacterized the plaintiff's "deliberate
          ___

          indifference"  claim to  include an  additional element,  namely,

          "that the city's `deliberate indifference' to Collins' safety was

          arbitrary government action that . . . `shock[s] the  conscience'

          of  federal  judges."   Id. at  126.   The Court  reiterated this
                                  ___

          standard when  it determined that  the city's alleged  failure to

          train or warn its  employees was not actionable as  a substantive

          due  process violation because  the city's conduct  could not "be

          characterized  as   arbitrary,  or  conscience  shocking,   in  a

          constitutional  sense."   Id.  at 128.    Rather, the  Court held
                                    ___

          petitioner's claim to be "analogous to a fairly typical state-law

          tort claim,"  and noted that  it had "previously  rejected claims

          that  the  Due Process  Clause  should be  interpreted  to impose

          federal duties that are  analogous to those traditionally imposed

          by state tort law."  Id.
                               ___

                    Since Collins was  decided in 1992,  two of our  sister
                          _______

          circuits,  faced  with  the  need  to  construct a  template  for

          substantive  due  process  claims  arising  out  of  the  state's

          creation  of  danger,  have held  squarely  that  the "shock  the

          conscience"  rubric furnishes  the appropriate  test.   The Third


                                          8














          Circuit,  sitting  en banc,  adopted  this standard  in  a police

          pursuit case.  See Fagan v. City of Vineland, 22 F.3d 1296, 1306-
                         ___ _____    ________________

          07  (3d Cir. 1994)  (en banc) ("In  light of  the Supreme Court's

          unanimous  adherence  to  the  `shocks the  conscience'  test  in

          Collins, the reckless indifference  of government employees is an
          _______

          insufficient  basis upon  which to  ground their liability  for a

          police pursuit under the  Due Process Clause.").  In  a different

          factual  context, the  Tenth Circuit  relied  on Collins  for the
                                                           _______

          proposition  that   the  "shock  the  conscience"   test  governs

          substantive due  process claims in all creation  of danger cases.

          See Uhlrig v.  Harder, 64 F.3d 567,  571 (10th Cir. 1995),  cert.
          ___ ______     ______                                       _____

          denied  116 S.  Ct. 924  (1996).   Moreover,  at least  two other
          ______

          courts of  appeals, anticipating Collins, adopted  the "shock the
                                           _______

          conscience" standard in police pursuit  cases prior to 1992  (and

          still adhere to it).  See Temkin v. Frederick County Comm'rs, 945
                                ___ ______    ________________________

          F.2d  716, 723  (4th  Cir. 1991),  cert.  denied, 502  U.S.  1095
                                             _____  ______

          (1992); Checki v. Webb, 785 F.2d 534, 538 (5th Cir. 1986).  To be
                  ______    ____

          sure, the position taken by  these courts is not uncontroversial.

          Judge Cowen wrote a vociferous dissent in Fagan, 22 F.3d at 1309,
                                                    _____

          and  the   Ninth  Circuit   recently  rejected  the   "shock  the

          conscience"  test,  Collins  notwithstanding.     See  Lewis   v.
                              _______                       ___  _____

          Sacramento County, ___  F.3d ___,  ___ (9th Cir.  1996) [1996  WL
          _________________

          577835 at  *5] (holding that deliberate  indifference or reckless

          disregard  "is the minimum required to sustain  a   1983 claim in

          the context of a high-speed police pursuit").

                    We  are persuaded that the majority view of the minimum


                                          9














          threshold in cases like  this is correct.4  Accordingly,  we hold

          that  police  officers'  deliberate indifference  to  a  victim's

          rights,  standing alone,  is  not a  sufficient  predicate for  a

          substantive  due process claim in a police pursuit case.  Rather,

          in such a  case, the plaintiff must also show  that the officers'

          conduct shocks the conscience.  Though that benchmark is mandated

          for  creation  of  danger  cases  under the  fairest  reading  of

          Collins,  we add that  it is particularly  appropriate to measure
          _______

          police  pursuits  in that  way.   Police  chases  are not  only a

          necessary concomitant of maintaining order in our modern society,

          but  they are also inherently  hazardous.  By  their very nature,

          they  inevitably  create  some  risk  of  injury  to  bystanders.

          Officers must decide the balance between law enforcement and risk

          to public  safety quickly and while  under considerable pressure.

          In such circumstances, permitting the Due Process Clause to serve

          as a surrogate  for state tort law would hamstring  the police in

          their performance of vital duties.

                    We   think,  moreover,  that   this  standard   is  not

          inconsistent with, but is  merely a refinement of, Landol-Rivera.
                                                             _____________

          As  in Landol-Rivera, a plaintiff  is still required  to show the
                 _____________

          police  officers' deliberate  indifference  to his  rights.   The

          plaintiff in Landol-Rivera could not clear this hurdle, so we had
                       _____________

                              
          ____________________

               4We refuse to follow Lewis because we believe that the panel
                                    _____
          paid insufficient attention both to Collins and to the legitimate
                                              _______
          demands of law enforcement when it  asserted, without engaging in
          any analysis, that "deliberate indifference is always sufficient"
          to  maintain  a  section  1983 substantive  due  process  action.
          Lewis, ___ F.3d at ___ [1996 WL 577835 at *5].
          _____

                                          10














          no  occasion to  explore whether any  further hurdle  blocked his

          path.5  Today, we move forward and hold that in order for a high-

          speed  police pursuit  to  intrude upon  substantive due  process

          protections,  the  officers'  conduct  must  not   only  manifest

          deliberate indifference to the  plaintiff's rights, but must also

          shock the conscience.

                    Having clarified the applicable legal standard, we need

          not tarry.   The evidence of record here, taken in the light most

          salutary  to  Evans'  case,  does  not  satisfy  the  "shock  the

          conscience"  test.  The chase  was brief in  duration, lasting no

          more  than  two minutes.   It  covered about  half  a mile.   The

          vehicles'  speeds never exceeded 50 m.p.h.  The officers had good

          cause  to believe that the  suspects were trafficking in cocaine.

          Though  Evans is  not  bereft of  talking  points    the  pursuit

          occurred in a densely  populated residential area at a  time when

                              
          ____________________

               5Even if, as Evans  urges, Landol-Rivera announced a broadly
                                          _____________
          applicable rule to the effect that deliberate indifference is the
          be-all in creation of danger cases   a proposition that we do not
          accept     Evans  would not  be  helped.    While under  ordinary
          circumstances we  would be bound to follow  a predecessor panel's
          lead,  see, e.g., Jusino  v. Zayas, 875  F.2d 986,  993 (1st Cir.
                 ___  ____  ______     _____
          1989)  (explaining   that  in   a   multi-panel  circuit,   newly
          constituted panels customarily are bound by prior panel decisions
          closely in  point), there is  a well-recognized exception  to the
          rule for   situations  in which  a panel  opinion is  undercut by
          controlling authority, subsequently announced.  See, e.g., Stella
                                                          ___  ____  ______
          v. Kelley,  63 F.3d 71,  74 (1st Cir.  1995) (refusing  to follow
             ______
          Unwin v.  Campbell, 863  F.2d 124 (1st  Cir. 1988),  in light  of
          _____     ________
          Johnson  v.  Jones, 115  S. Ct.  2151  (1995)); United  States v.
          _______      _____                              ______________
          Bucuvalas, 909 F.2d 593,  594 (1st Cir. 1990) (overruling  United
          _________                                                  ______
          States v.  Bosch Morales, 677 F.2d 1 (1st Cir. 1982), in light of
          ______     _____________
          United States v. Powell,  469 U.S. 57 (1984)).   If Landol-Rivera
          _____________    ______                             _____________
          were to be read in the manner urged by Evans, the Supreme Court's
          subsequent decision  in Collins  would require us  to invoke  the
                                  _______
          exception here.

                                          11














          people  would likely be ambling  about, and the  officers did not

          seriously consider  alternatives to  hot pursuit    these points,

          taken  most favorably to  Evans, add up to  no more than possible

          negligence.  Considering the totality of the circumstances, we do

          not believe  that  either the  officers' decision  to pursue  the

          apparent  perpetrators  of a  serious  offense  or their  actions

          during  the chase  were so raw  as to  shock the  conscience of a

          reasonable factfinder.

                    A  comparison of  the facts  of this  case to  those of

          other police pursuit  cases in which  the officers' behavior  has

          been held not  to shock the conscience  fortifies our conclusion.

          For example, Fagan involved a lengthy pursuit at speeds up to  80
                       _____

          m.p.h.  through a plethora of red lights.   See Fagan, 22 F.3d at
                                                      ___ _____

          1299-1300.  Similarly, Temkin, 945 F.2d at 718, involved a police
                                 ______

          officer who pursued an individual suspected of stealing $17 worth

          of gasoline  at speeds  up to  105 m.p.h.  on a  narrow, two-lane

          highway, with the  result that  both the police  cruiser and  the

          pursued vehicle  struck the plaintiff.   The Fourth  Circuit held

          that  the officer's  conduct,  "while disturbing  and lacking  in

          judgment,"  did  not   transgress  the  "shock   the  conscience"

          standard.   Id. at  723.   The actions of  the officers  in those
                      ___

          cases  were far more egregious than the actions of officers Avery

          and  Greene.   Although the  "shock the  conscience" test  is not

          mathematically precise, the imprecision occurs at the edges   and

          this case, fairly viewed, does not present a close call.

                    To  sum up, "shock the conscience" is the standard that


                                          12














          guides our decision, and the conduct of officers Avery and Greene

          when measured  against that benchmark is  manifestly insufficient

          to  support a substantive due process claim.  We therefore reject

          Marie Evans' principal assignment of error.

          III.  THE SECTION 1983 CLAIM AGAINST THE CITY
          III.  THE SECTION 1983 CLAIM AGAINST THE CITY

                    Evans  next argues  that  the district  court erred  in

          granting summary judgment on  her section 1983 claim  against the

          City of Boston.   She asserts that the City  exhibited deliberate

          indifference  to individual  rights both  through its  failure to

          monitor  police pursuits  and  through its  failure to  supervise

          police officers involved  in such  pursuits.  We  need not  probe

          Evans'  charge that the City's policies  were inadequate in these

          respects.  As we  explain below, the fact  that Avery and  Greene

          did not violate Evans' constitutional rights means  that the City

          is not liable to her under section 1983.

                    This  result  is  compelled   by  the  Supreme  Court's

          decision in  City of Los  Angeles v. Heller, 475  U.S. 796 (1986)
                       ____________________    ______

          (per curiam).   In that case, the plaintiff sued a police officer

          for making an  arrest with excessive  force and without  probable

          cause;  he  also sued  the officer's  employer,  the City  of Los

          Angeles, for  promulgating a constitutionally deficient policy in

          regard to police officers' use of force.  The jury  found for the

          officer but against the municipality.  The district court entered

          judgment for the  gendarme but  overrode the second  part of  the

          jury's verdict and  dismissed the  claim against the  city.   The

          court  of appeals  reversed the  order of  dismissal but  did not


                                          13














          disturb  the  judgment that  had  been entered  in  the officer's

          favor.   See  Heller v.  Bushey, 759  F.2d 1371,  1376  (9th Cir.
                   ___  ______     ______

          1985).  The city then appealed.  The Supreme Court reinstated the

          dismissal, declaring that it had never

                    authorize[d]  the award of  damages against a
                    municipal corporation based on the actions of
                    one of its officers when in fact the jury has
                    concluded  that  the  officer   inflicted  no
                    constitutional  harm.     If  a  person   has
                    suffered  no  constitutional  injury  at  the
                    hands  of the individual  police officer, the
                    fact that the departmental  regulations might
                    have authorized the  use of  constitutionally
                         __________
                    excessive force is quite beside the point.

          Heller, 475 U.S. at 799 (emphasis in original).
          ______

                    While Heller  provides a durable basis  for determining
                          ______

          that  a municipality cannot be  liable under section  1983 for an

          inadequate public  safety policy in  a situation where,  as here,

          the  officers whose  actions actually caused  the harm  have been

          exonerated at trial,  we note that a  panel of the  Third Circuit

          found Heller inapplicable in a case much like this one.  In Fagan
                ______                                                _____

          v. City of Vineland, 22 F.3d 1283 (3d Cir. 1994) (panel opinion),
             ________________

          the  court stated that "in a substantive due process case arising

          out of  a police pursuit,  an underlying constitutional  tort can

          still exist even  if no  individual police  officer violated  the

          Constitution."  Id. at 1292.6   The court reasoned that the claim
                          ___

          against the officers and the  claim against the municipality were

          based on two different theories:  the officers would be liable if

          their conduct "shocked  the conscience," while the  city would be
                              
          ____________________

               6When the Third Circuit  subsequently reheard Fagan en banc,
                                                             _____
          22 F.3d 1296, it did not review this aspect of the panel opinion.

                                          14














          liable if its policymakers,  acting with deliberate indifference,

          implemented a policy  that encouraged the officers  to conduct an

          unsafe  pursuit.  Id.   Evans invites us  to adopt this analysis.
                            ___

          We decline the invitation because we believe that the Fagan panel
                                                                _____

          improperly applied the Supreme Court's teachings.

                    In Collins, the Court emphasized that
                       _______

                    proper analysis requires  us to separate  two
                    different  issues  when  a     1983 claim  is
                    asserted against a municipality:  (1) whether
                    plaintiff's    harm    was   caused    by   a
                    constitutional  violation,  and  (2)  if  so,
                    whether  the  city  is  responsible  for that
                    violation.

          Collins,  503 U.S.  at  120.    The  Fagan  panel  described  the
          _______                              _____

          "deliberate  indifference" test  as  a "different  theor[y]"  for

          municipal  liability,  22  F.3d  at  1292,  but  the  "deliberate

          indifference"  test is not an independent theory at all.  Rather,

          deliberate indifference  is merely an articulation  of the second

          prong of the  Collins framework, adapted  to "policy and  custom"
                        _______

          cases.   In treating it  as a  separate theory,  the Fagan  panel
                                                               _____

          ignored the first segment of the framework:  the requirement that

          the  plaintiff's harm  be caused  by a  constitutional violation.

          See  Thompson v.  Boggs, 33 F.3d  847, 859  n.11 (7th  Cir. 1994)
          ___  ________     _____

          (rejecting the holding of the Fagan panel opinion), cert. denied,
                                        _____                 _____ ______

          115  S. Ct. 1692 (1995); see also  Mark v. Borough of Hatboro, 51
                                   ___ ____  ____    __________________

          F.3d  1137,  1153  n.13   (3d  Cir.)  (questioning  the  analysis

          contained in the Fagan  panel opinion), cert. denied, 116  S. Ct.
                           _____                  _____ ______

          165 (1995).  Consequently, we follow Heller's clear rule and hold
                                               ______

          that the  City  cannot be  held  liable absent  a  constitutional


                                          15














          violation  by its officers.   See de  Feliciano v. de  Jesus, 873
                                        ___ _____________    _________

          F.2d 447, 449 (1st Cir.), cert. denied, 493 U.S. 850 (1989).
                                    _____ ______

          IV.  THE CROSS-APPEAL
          IV.  THE CROSS-APPEAL

                    The City of Boston appeals the jury's verdicts for loss

          of  consortium in favor of  Muriel and Billy  Evans (Marie Evans'

          parents).  It advances a single isthmian ground in support of its

          cross-appeal, arguing that the trial court erred in formulating a

          jury instruction.

                    We  frame the  assignment of  error.   Over the  City's

          objection,  the lower  court instructed the  jury that  state law

          limited  the damages  that  could be  awarded  on each  claim  to

          $100,000.    See  supra  note  1.    The  City  argues  that this
                       ___  _____

          instruction was  unfairly prejudicial inasmuch as  it "caused the

          jury  to decide the  amount of damages  on emotion."   The City's

          premise is that, once the jury  knew of the cap, it realized that

          it  could  not fully  compensate  Marie Evans  for  her extremely

          severe  injuries    and   therefore  decided  to  circumvent  the

          statutory impediment by remunerating Marie's family as generously

          as possible.7

                    This   asseveration   lacks   merit.      Neither   the

          Massachusetts statute  nor the cases discussing  it prohibit such

          an  instruction, and the City cites no case from any jurisdiction

          which holds that in  such circumstances a trial court  abuses its
                              
          ____________________

               7Marie Evans presented testimony indicating that her damages
          may  have totalled as much  as $2,000,000.   The jury, apparently
          heedful of the magistrate's instructions concerning the statutory
          cap,  awarded her  $100,000.   The  City  has not  appealed  that
          verdict.

                                          16














          discretion  by informing a jury  of a statutory  cap on damages.8

          To  the contrary, the cases upon which  the City relies stand for

          nothing more than  the proposition  that a trial  court does  not

          abuse its  discretion in refusing  to inform the  jury of such  a

          limit.   See, e.g.,   Thompson  v. Sanford,  663 S.W.2d  932, 935
                   ___  ____    ________     _______

          (Ark.  1984); State  v. Bouras,  423 N.E.2d  741, 744  (Ind. App.
                        _____     ______

          1981).

                    The wisdom  of telling  a jury about  such a  statutory

          limitation is  debatable, and we  do not recommend  the practice.

          Still,  we customarily  cede wide discretion  to trial  courts to

          fashion jury instructions as  they see fit, see United  States v.
                                                      ___ ______________

          Houlihan,  92  F.3d  1271,  1299  n.31  (1st  Cir. 1966);  Putnam
          ________                                                   ______

          Resources  v. Pateman, 958 F.2d 448, 462  (1st Cir. 1992), and we
          _________     _______

          see no reason to second-guess the court in this instance.

                    This conclusion is reinforced by other incidents of the

          case at hand.  For one thing, the awards to the parents are amply

          supported by  evidence in the  record   and  almost none  of this

          evidence  has  been  contradicted.    For  another  thing,  after

          properly  instructing  the  jurors  on loss  of  consortium,  the

          magistrate  told them  that "[t]he  claims for  Muriel and  Billy

          Evans for loss of consortium are  separate claims and each is  to

          be judged separately."  Jurors are presumed to follow the court's
                              
          ____________________

               8This  is not a case like Sasaki  v. Class, 92 F.3d 232 (4th
                                         ______     _____
          Cir. 1996), in which the trial court, though forbidden by statute
          from  informing the jury of a cap on damages, nonetheless allowed
          counsel to do so.  See id.  at 235-37 (remanding for a new  trial
                             ___ ___
          due  to  a violation  of  42 U.S.C.     1981a(c)(2)).   Here, the
          Massachusetts  legislature wrote a statute that is silent on this
          point, and we decline to speak for it.

                                          17














          instructions,  see Houlihan,  92 F.3d at  1287; United  States v.
                         ___ ________                     ______________

          Rivera-Gomez, 67 F.3d 993,  999 (1st Cir. 1995), and the City has
          ____________

          not   offered  sufficient   justification  for   overcoming  this

          presumption.  In  the last  analysis, the City's  claim that  the

          mere mention of the statutory cap inspired the jury to ignore the

          charge  and   instead  do   rough  remedial  justice   is  wholly

          speculative.

          V.  CONCLUSION
          V.  CONCLUSION

                    We need go  no further.   In a police pursuit  case not

          involving a seizure, the officers may be held liable on the basis

          of  substantive due process only if their actions (whether or not

          reckless or deliberately indifferent  to public safety) shock the

          conscience.   Here, Marie Evans'  injuries are not  the result of

          conscience-shocking  conduct on  the  part of  officers Avery  or

          Greene.  Section 1983  therefore provides no remedy against  them

          (or against the City of Boston, for that matter).9

                    No error appearing, the judgment below will be



          Affirmed.  All parties shall bear their own costs.
          Affirmed.  All parties shall bear their own costs.
          ________   ______________________________________


                              
          ____________________

               9We emphasize that we are asked  to determine as a matter of
          federal  law only whether Marie  Evans has a constitutional right
          to recover damages under  the Due Process Clause.   The questions
          of whether  or to what extent she may maintain a suit under state
          tort law must  be answered according  to that body  of law.   The
          Commonwealth  of  Massachusetts  has  chosen to  provide  only  a
          limited tort remedy,  and, though  that choice has  a very  harsh
          result  here,  we must  recognize the  state's suzerainty  in its
          legitimate province.   It is not the  function of a federal court
          to  force state tort law into unfamiliar contours under the guise
          of constitutional interpretation.

                                          18









